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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

FTX TRADING LTD., et al.,1                             Case No. 22-11068 (JTD)

         Debtors.                                      (Jointly Administered)




                SUPPLEMENTAL DECLARATION OF MICHAEL CAHILL
                      IN SUPPORT OF MOTION OF PYTH DATA
               ASSOCIATION FOR RELIEF FROM THE AUTOMATIC STAY

         I, Michael Cahill, hereby declare as follows under penalty of perjury pursuant to 28 U.S.C.

§ 1746, and make this declaration to the best of my knowledge and belief:

         1.      On June 14, 2023, the Pyth Data Association filed the Motion of Pyth Data

Association for Relief from the Automatic Stay [Docket No. 1632] (the “Motion”).2

         2.      On June 23, 2023, the Court entered the Order Granting Motion of Pyth Data

Association for Relief from the Automatic Stay [Docket No. 1693] (the “Order”).

         3.      Paragraph 4 of the Order requires that “[f]ollowing the completion of the Reminting

Plan, a representative of the PDA shall file a declaration with the Court stating that the PDA has

endorsed New PYTH and Original PYTH has no functionality on the Pyth Protocol.”

         4.      The Reminting Plan has been completed.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Motion.


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       5.        The PDA has endorsed New Pyth and Original PYTH has no functionality on the

Pyth Protocol.

       6.        I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed on August 23, 2023                          Respectfully submitted,
Porto, Portugal
                                                     /s/ Michael Cahill
                                                     Michael Cahill




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